         Case 2:19-bk-13214-SK                   Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                        Desc
                                                  Main Document    Page 1 of 15




Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
Numbers, State Bar Number & Email Address




    Debtor appearing without attorney
    Attorney for Debtor

                                      UNITED STATES BANKRUPTCY COURT
                        CENTRAL DISTRICT OF CALIFORNIA -                                                          DIVISION

List all names (including trade names) used by Debtor                       CASE NUMBER:
within the last 8 years.
                                                                            CHAPTER 13
In re:
                                                                                                  CHAPTER 13 PLAN
                                                                                                              Original
                                                                                                              1st Amended*
                                                                                                              2nd Amended*
                                                                                                              3rd Amended*
                                                                                                              ___ Amended*
                                                                               *list below which sections have been changed:


                                                                                            [FRBP 3015(b); LBR 3015-1]
                                                                            11 U.S.C. SECTION 341(a) CREDITORS MEETING:
                                                                            Date: 05/03/2019
                                                                            Time: 10:00 A.M.
                                                                            Address:



                                                                            PLAN CONFIRMATION HEARING: [LBR 3015-1(d)]
                                                                            Date: 05/23/2019
                                                                            Time:
                                                                            Address:

                                                               Debtor(s).

                                                                                                        11 of the United States Code.
                                                                                                                                   ourt.


           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                           Page 1                                 F 3015-1.01.CHAPTER13.PLAN
        Case 2:19-bk-13214-SK                  Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                                Main Document    Page 2 of 15



Part 1: PRELIMINARY INFORMATION
TO DEBTOR (the term "Debtor" includes and refers to both spouses as Debtors in a joint bankruptcy case): This
Chapter 13 Plan (Plan) sets out options that may be appropriate in some cases, but the presence of an option in this Plan
does not indicate that the option is appropriate, or permissible, in your situation. A Plan that does not comply with local
rules and judicial rulings may not be confirmable. You should read this Plan carefully and discuss it with your attorney if
you have one. If you do not have an attorney, you may wish to consult one.

TO ALL CREDITORS: This Plan is proposed by Debtor and your rights may be affected by this Plan. Your claim may be
reduced, modified, or eliminated. You should read this Plan carefully and discuss it with your attorney if you have one. If
you do not have an attorney, you may wish to consult one.

If you oppose this P                                                          Plan, you or your attorney must file a written
objection to confirmation of the Plan at least 14 days before the date set for the hearing on confirmation, unless otherwise
ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
confirmation is filed. See FRBP 3015. In addition, you must file a timely proof of claim in order to be paid under any plan.
See LBR 3015-1 and FRBP 3002(a).
Defaults will be cured using the interest rate set forth below in the Plan.


The following matters may be of particular importance to you:

Debtor must check one box on each line to state whether or not this Plan includes each of the following items. If
                                        ,                       or neither box is checked, the item will be
ineffective if set out later as a provision in this Plan.

  1.1   Valuation of property and avoidance of a lien on property of the bankruptcy estate, set out in Class 3A
        and/or Section IV                            :
           Included       Not included

  1.2   Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in Section IV
                          :
           Included       Not included

  1.3   Less than full payment of a domestic support obligation that has been assigned to a governmental unit,
        pursuant to 11 U.S.C.            This provision requires that payments in Part 2 Section I.A. be for a
        term of 60 months:
           Included        Not included

  1.4   Other Nonstandard Plan provisions, set out in Section IV:
           Included      Not included



ALL CREDITORS ARE REQUIRED TO FILE A PROOF OF CLAIM IN ORDER TO HAVE AN ALLOWED CLAIM,
EXCEPT AS PROVIDED IN FRBP 3002(a). Debtor, or Attorney for Debtor (if any), are solely responsible to object to a
creditor's claim if Debtor deems it necessary. A Debtor whose Plan is confirmed may be eligible thereafter to receive a




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                          Page 2                                 F 3015-1.01.CHAPTER13.PLAN
         Case 2:19-bk-13214-SK                  Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                                 Main Document    Page 3 of 15



Part 2: PLAN TERMS
Debtor proposes the following Plan terms and makes the following declarations:
Section I. PLAN PAYMENT AND LENGTH OF PLAN
     A.    Monthly Plan Payments will begin 30 days from the date the bankruptcy petition was filed. If the payment due
                               th   th      st                                        st
           date falls on the 29 , 30 , or 31 day of the month, payment is due on the 1 day of the following month (LBR
           3015-1(k)(1)(A)).
           Payments by Debtor of:
                                                                        36,000.00
                                                           60 totaling $_______________.
           $_______________ per month for months 1 through ____
           $_______________ per month for months ____ through ____ totaling _______________.
           $_______________ per month for months ____ through ____ totaling $_______________.
           $_______________ per month for months ____ through ____ totaling $_______________.
           For a total plan length of 60                    36,000.00
                                      ____ months totaling $_______________.
     B.    Nonpriority unsecured claims.
           1.     After Class 1 through Class 4 creditors are paid, allowed nonpriority unsecured claims that are not
                  separately classified (Class 5) will be paid pro rata. If more than one option is checked below, the option
                  providing the largest payment will be effective. Check all that apply.
                  a.                         The sum of $_______________, estimated to pay ______% of these claims.
                  b.                          30.00
                                               ______% of the total amount of these claims, for an estimated payment of
                             $_______________.
                  c.                             The remaining funds after disbursements have been made to all other creditors
                             provided for in this Plan, estimated to pay $_______________ equivalent to ______% of these
                             claims.
           2.     Minimum Plan payments. Regardless of the options checked above, payments on allowed nonpriority
                  unsecured claims will be made in at least the following amounts: (a) the sum of $_______________,
                  representing the value of non-exempt assets that would have to be paid to nonpriority unsecured
                  creditors if the bankruptcy estate of Debtor were liquidated under Chapter 7 (11 U.S.C. 1325(a)(3)) and
                  (b) if Debtor has above-median income and otherwise subject to 11 U.S.C. 1325(b), the sum of
                  $_______________, representing all disposable income payable for 60 months.
    C.     Regular Plan payments to the Chapter 13 Trustee will be made from future income in the following manner:
           Check all that apply.
                  Debtor will make Plan payments pursuant to a payroll deduction order.
                  Debtor will make Plan payments directly to the Chapter 13 Trustee.
                  Other (specify method of payment):_______________________________________________________.
     D.    Income tax refunds. Debtor will provide the Chapter 13 Trustee with a copy of each income tax return filed
           during the Plan term within 14 days of filing the return and, unless the Plan provides 100% payment to
           nonpriority unsecured creditors (Class 5), will turn over to the Chapter 13 Trustee all income tax refunds in
           excess of $500 received during the Plan term.
     E.    In the event that secured creditor(s) file a Notice of Postpetition Fees and Costs pursuant to FRBP 3002.1(c),
           the Chapter 13 Trustee is authorized, but not required, to commence paying those charges 90 days after that
           notice is filed, unless within that time the Debtor contests those charges by filing a motion to determine payment
           under FRBP 3002.1(e) or agrees to pay those charges by filing a motion to modify this Plan.




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                           Page 3                                 F 3015-1.01.CHAPTER13.PLAN
       Case 2:19-bk-13214-SK                     Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                                  Main Document    Page 4 of 15



     F.     Debtor must make preconfirmation adequate protection payments for any creditor that holds an allowed claim
            secured by personal property where such security interest is attributable to the purchase of such property and
            preconfirmation payments on leases of personal property whose allowed claim is impaired by the terms
            proposed in this Plan. Debtor must make preconfirmation adequate protection payments and preconfirmation
            lease payments to the Chapter 13 Trustee for the following creditor(s) in the following amounts:

                                                                                                            Last 4 Digits
                   Creditor/Lessor Name                           Collateral Description                                                Amount
                                                                                                            of Account #




           Each adequate protection payment or preconfirmation lease payment will accrue beginning the 30th day from
           the date of filing of the case. The Chapter 13 Trustee must deduct the foregoing adequate protection
           payment(s) and/or preconfirmation lease payment from Debtor's Plan Payment and disburse the adequate
           protection payment or preconfirmation lease payment to the secured creditor(s) at the next available
           disbursement or as soon as practicable after the payment is received and posted to the Chapter 13 T
           account. The Chapter 13 Trustee will collect his or her statutory fee on all receipts made for preconfirmation
           adequate protection payments or preconfirmation lease payments.
      G. Debtor must not incur debt greater than $1,000 without prior court approval unless the debt is incurred in the

      H. The Chapter 13 Trustee is authorized to disburse funds after the date the Plan confirmation is announced in
         open court.
      I.   Debtor must file timely all postpetition tax returns and pay timely all postconfirmation tax liabilities directly to the
           appropriate taxing authorities.
      J.   Debtor must pay all amounts required to be paid under a Domestic Support Obligation that first became payable
           after the date of the filing of the bankruptcy petition.
      K. If the Plan proposes to avoid a lien of a creditor, the Chapter 13 Trustee must not disburse any payments to that
         creditor on that lien until the Plan confirmation order is entered.
Section II. ORDER OF PAYMENT OF CLAIMS; CLASSIFICATION AND TREATMENT OF CLAIMS:
     Except as otherwise provided in this Plan or by court order, the Chapter 13 Trustee must disburse all available funds
     for the payment of claims as follows:
     A.     ORDER OF PAYMENT OF CLAIMS:
           1st     If there are Domestic Support Obligations, the order of priority will be:
                       (a) Domestic Support
                           on Plan Payments made to date;
                       (b) Administrative expenses until paid in full;
                   If there are no Domestic Support Obligations, the order of priority will be:
                       (a) The chapter 13
                       (b) Administrative expenses (Class 1(a)) until paid in full.
           2nd Subject to the 1st paragraph, pro rata to all secured claims and all priority unsecured claims except as
               otherwise provided in this Plan.
           3rd     Non-priority unsecured creditors will be paid pro rata except as otherwise provided in this Plan. No
                   payment will be made on nonpriority unsecured claims until all the above administrative, secured and
                   priority claims have been paid in full unless otherwise provided in this Plan.



           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                            Page 4                                 F 3015-1.01.CHAPTER13.PLAN
         Case 2:19-bk-13214-SK                    Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                                   Main Document    Page 5 of 15



       B.    CLASSIFICATION AND TREATMENT OF CLAIMS:

                                                                      CLASS 1



                           Class 1 claims will be paid pro rata in the order set forth in Section II.A. above.

Unless otherwise ordered by the court, the claim amount stated on a proof of claim, and the dollar amount of any
allowed administrative expense, controls over any contrary amount listed below.

                                                          AMOUNT OF                   INTEREST                              TOTAL
                  CATEGORY
                                                        PRIORITY CLAIM                RATE, if any                         PAYMENT

a. Administrative Expenses

(1)      Chapter 13 T               Fee     estimated at 11% of all payments to be made to all classes through this Plan.

(2)

(3)      Chapter 7 Trustee's Fees

(4)      Other

(5)      Other

b. Other Priority Claims

 (1)     Internal Revenue Service                                                        0.00%

 (2)     Franchise Tax Board                                                             0.00%

 (3)     Domestic Support Obligation                                                     0.00%

 (4)     Other                                                                           0.00%

c.     Domestic Support Obligations that have been assigned to a governmental unit and are not to be paid in full in the
       Plan pursuant to 11 U.S.C.            (this provision requires that payments in Part 2 Section I.A. be for a term of
       60 months)
       (specify creditor name):

                                                                                         0.00%                               0.00%

                                                                                         0.00%                                0.00%



      See attachment for additional claims in Class 1.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                             Page 5                                 F 3015-1.01.CHAPTER13.PLAN
       Case 2:19-bk-13214-SK                   Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                                Main Document    Page 6 of 15



                                                                   CLASS 2



                   ON WHICH OBLIGATION MATURES AFTER THE FINAL PLAN PAYMENT IS DUE

Check one.

      None.                                           this form for Class 2 need not be completed.

      Debtor will maintain and make the current contractual installment payments on the secured claims listed below,
      with any changes required by the applicable contract and noticed in conformity with any applicable rules. These
      payments will be disbursed either by the Chapter 13 Trustee or directly by Debtor, as specified below. Debtor will
      cure the prepetition arrearages, if any, on a listed claim through disbursements by the Chapter 13 Trustee, with
      interest, if any, at the rate stated.

      Unless otherwise ordered by the court, the arrearage amount stated on a proof of claim controls over any contrary
      amount listed below.


                                                                                                                                         POST-
                                        LAST 4                           ESTIMATED                                                     PETITION
                                                  AMOUNT OF                                                        ESTIMATED
                                       DIGITS OF               INTEREST   MONTHLY                                                     MORTGAGE
     NAME OF CREDITOR                            ARREARAGE, IF                                                       TOTAL
                                       ACCOUNT                   RATE   PAYMENT ON                                                     PAYMENT
                                                     ANY                                                           PAYMENTS
                                       NUMBER                           ARREARAGE                                                     DISBURSING
                                                                                                                                         AGENT

LoanCare                                                                                                                                 Trustee
                                        1575                                 0.00%           $ 350.00
                                                                                                                                         Debtor
                                                                                                                                         Trustee
                                                                             0.00%                                                       Debtor
                                                                                                                                         Trustee
                                                                              0.00%                                                      Debtor



   See attachment for additional claims in Class 2.




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                          Page 6                                 F 3015-1.01.CHAPTER13.PLAN
       Case 2:19-bk-13214-SK                   Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                                Main Document    Page 7 of 15




                                                                  CLASS 3A


                  CLAIMS SECURED BY REAL OR PERSONAL PROPERTY WHICH ARE TO BE PAID
                                 IN FULL DURING THE TERM OF THIS PLAN.
Check one.

         None.                                           this form for Class 3A need not be completed.

         Debtor proposes:

         (1) Bifurcation of Claims - Dollar amounts/lien avoidance. Except as provided below regarding
             bifurcation of claims into a secured part and an unsecured part, and unless otherwise ordered by the
             court, the claim amounts listed on a proof of claim control this Plan over any contrary amounts listed
             below.

                (a)   Bifurcated claims - secured parts: Debtor proposes that, for the purposes of distributions under this
                      Plan, the dollar amount of secured claims in this Class 3A should be as set forth in the column
                      headed Secured Claim Amount. For that dollar amount to be binding on the affected parties, either

                      (i) Debtor must obtain a court order granting a motion fixing the dollar amount of the secured claim
                          and/or avoiding the lien, or

                      (ii) Debtor must complete and comply with Part 2 Section IV.C., so that the Plan itself serves as
                           such a motion; the "Included" boxes must be checked in Part 1 Paragraph 1.4 (indicating a
                           nonstandard provision in Section IV.C.) and Part 1 Paragraphs 1.1 and/or 1.2 (indicating that this
                           Plan includes valuation and lien avoidance, and/or avoidance of a judicial lien or nonpossessory,
                           nonpurchase-money lien in Section IV.C.); and this Plan must be confirmed - if any one of those
                           conditions is not satisfied, then the claim will not be bifurcated into a secured part and an
                           unsecured part pursuant to this sub-paragraph.

                (b)   Bifurcated claims - unsecured parts: Any allowed claim that exceeds the amount of the secured
                      claim will be treated as a nonpriority unsecured claim in Class 5 below.

         (2) Taxes/insurance. Debtor must pay all required ongoing property taxes and homeowner's insurance
             premiums for real property paid in full in this class.

                                       LAST 4
                                                                         SECURED                            ESTIMATED             ESTIMATED
                                      DIGITS OF         CLAIM                              INTEREST
    NAME OF CREDITOR                  ACCOUNT
                                                                          CLAIM              RATE
                                                                                                             MONTHLY                TOTAL
                                                        TOTAL
                                      NUMBER                             AMOUNT                              PAYMENT              PAYMENTS

 Ocwen
                                                                                           0.00%


                                                                                           0.00%




   See attachment for additional claims in Class 3A.




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                          Page 7                                 F 3015-1.01.CHAPTER13.PLAN
        Case 2:19-bk-13214-SK                   Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                                 Main Document    Page 8 of 15




                                                                   CLASS 3B



Check one.

         None.                                            this form for Class 3B need not be completed.

         The claims listed below were either:

1. Incurred within 910 days before the petition date and secured by a purchase money security interest in a motor
    vehicle acquired for the personal use of Debtor, or
2.    Incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of
      value.
These claims will be paid in full under this Plan with interest at the rate stated below. Unless otherwise ordered by the
court, the claim amount stated on a proof of claim controls over any contrary amount listed below.

                                                 LAST 4
                                                                                                        ESTIMATED                ESTIMATED
                                                DIGITS OF                             INTEREST
         NAME OF CREDITOR                       ACCOUNT
                                                               CLAIM TOTAL                               MONTHLY                   TOTAL
                                                                                        RATE
                                                NUMBER                                                   PAYMENT                 PAYMENTS

                                                                                      0.00%

                                                                                      0.00%

                                                                                      0.00%



     See attachment for additional claims in Class 3B.




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                           Page 8                                 F 3015-1.01.CHAPTER13.PLAN
       Case 2:19-bk-13214-SK                   Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                                Main Document    Page 9 of 15




                                                                    CLASS 4

                     OTHER CLAIMS ON WHICH THE LAST PAYMENT ON A CLAIM IS DUE AFTER
                            THE DATE ON WHICH THE FINAL PLAN PAYMENT IS DUE

 Check one.

      None.                                            this form for Class 4 need not be completed.

      Debtor will maintain and make the current contractual installment payments (Ongoing Payments) on the secured
      claims listed below, with any changes required by the applicable contract and noticed in conformity with any
      applicable rules. These payments will be disbursed either by the Chapter 13 Trustee or directly by Debtor, as
      specified below. Debtor will cure and pay the prepetition arrearages, if any, on a claim listed below through
      disbursements by the Chapter 13 Trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the
      court, the dollar amount of arrearage stated on a proof of claim controls over any contrary amount listed below.

                                                                                            Cure of Default
                                      LAST 4
                                     DIGITS OF                                            ESTIMATED                                   ONGOING
  NAME OF CREDITOR                   ACCOUNT         AMOUNT OF                                                   ESTIMATED
                                                                          INTEREST         MONTHLY                                    PAYMENT
                                     NUMBER          ARREARAGE,                                                    TOTAL
                                                                            RATE         PAYMENT ON                                  DISBURSING
                                                       IF ANY                                                    PAYMENTS
                                                                                         ARREARAGE                                      AGENT

                                                                                                                                          Trustee
                                                                          0.00%
                                                                                                                                          Debtor

                                                                                                                                          Trustee
                                                                          0.00%
                                                                                                                                          Debtor


                                                                          0.00%                                                           Trustee
                                                                                                                                          Debtor



   See attachment for additional claims in Class 4.




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                          Page 9                                 F 3015-1.01.CHAPTER13.PLAN
       Case 2:19-bk-13214-SK                   Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                               Main Document    Page 10 of 15




                                                                    CLASS 5A

                           NON-PRIORITY UNSECURED CLAIMS NOT SEPARATELY CLASSIFIED
Allowed nonpriority unsecured claims not separately classified must be paid pursuant to Section I.B. above.



                                          SEPARATE CLASSIFICATION:
Check all that apply if Debtor proposes any separate classification of nonpriority unsecured claims.
      None.                                 this form for Class 5 need not be completed.

                                                                    CLASS 5B

    Maintenance of payments. Debtor will maintain and make the contractual installment payments on the unsecured
claims listed below on which the last payment is due after the final Plan payment. The contractual installment payments
will be disbursed by Debtor.

                                                                      LAST 4
                                                                                                          ESTIMATED                 ESTIMATED
                                                                     DIGITS OF         INTEREST
                 NAME OF CREDITOR                                                                          MONTHLY                    TOTAL
                                                                     ACCOUNT             RATE
                                                                                                           PAYMENT                  PAYMENTS
                                                                     NUMBER

 Capital One                                                                            0.00%

                                                                                        0.00%

                                                                    CLASS 5C

   Maintenance of payments and cure of any default. Debtor must maintain and make the contractual installment
payments and cure any default in payments on the unsecured claims listed below on which the last payment is due after
the final Plan payment. The claim for the arrearage amount will be paid in full as specified below and disbursed by the
Chapter 13 Trustee.
                                           LAST 4                                                             Cure of Default
                                          DIGITS OF
     NAME OF CREDITOR                                         AMOUNT OF                                   ESTIMATED                 ESTIMATED
                                          ACCOUNT                                      INTEREST
                                                              ARREARAGE                                    MONTHLY                    TOTAL
                                          NUMBER                                         RATE
                                                                                                           PAYMENT                  PAYMENTS

                                                                                       0.00%

                                                                                       0.00%


                                                                    CLASS 5D

     Other separately classified nonpriority unsecured claims.
                                                    LAST 4                                                   INTEREST
                                                               AMOUNT TO BE                                                        ESTIMATED
                                                   DIGITS OF                                                   RATE
              NAME OF CREDITOR                                  PAID ON THE                                                      TOTAL AMOUNT
                                                   ACCOUNT                                                       (if
                                                                   CLAIM                                                          OF PAYMENTS
                                                   NUMBER                                                    applicable)
                                                                                                             0.00%

                                                                                                              0.00%


   See attachment for additional claims in Class 5.

         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                         Page 10                                 F 3015-1.01.CHAPTER13.PLAN
       Case 2:19-bk-13214-SK                   Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                               Main Document    Page 11 of 15




                                                                     CLASS 6

                                                      SURRENDER OF COLLATERAL
   Check one.
       None.                                            this form for Class 6 need not be completed.
                                                                                                                                              Debtor
       requests that upon confirmation of the P
       only and that the stay under 11 U.S.C.                                                          Any allowed unsecured claim resulting
       from the disposition of the collateral will be treated in Class 5 above.
         Creditor Name:                                                               Description:




      See attachment for additional claims in Class 6.




                                                                     CLASS 7

                                       EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   Check one.

        None.                                             this form for Class 7 need not be completed.

         The executory contracts and unexpired leases listed below are treated as specified (identify the contract or
         lease at issue and the other party(ies) to the contract or lease):

     Creditor Name:

     Description:
                                 Rejected                                       Assumed; cure amount (if any): $________________


     Creditor Name:

     Description:
                                 Rejected                                       Assumed; cure amount (if any): $________________

     Payments to be cured within _____ months of filing of the bankruptcy petition. All cure payments will be
     made through the Chapter 13 Trustee.


       See attachment for additional claims in Class 7.




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                         Page 11                                 F 3015-1.01.CHAPTER13.PLAN
       Case 2:19-bk-13214-SK                   Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                               Main Document    Page 12 of 15



Section III. PLAN SUMMARY


                   CLASS 1a
                   CLASS 1b
                   CLASS 1c
                   CLASS 2
                   CLASS 3A
                   CLASS 3B
                   CLASS 4
                   CLASS 5
                   CLASS 7
                   SUB-TOTAL
                   CHAPTER 13 TRUSTEE'S FEE
                   (Estimated 11% unless advised otherwise)
                    TOTAL PAYMENT


Section IV. NON-STANDARD PLAN PROVISIONS
          None.                                                        IV need not be completed.
      Pursuant to FRBP 3015(c), Debtor must set forth all nonstandard Plan provisions in this Plan in this

      and/or 1.4 of Part 1 of this Plan. Any nonstandard Plan provision that does not comply with these
      requirements is ineffective. A nonstandard Plan provision means any Plan provision not otherwise included in
      this mandatory Chapter 13 Plan form, or any Plan provision deviating from this form.
      The nonstandard Plan provisions seeking modification of liens and security interests address only those
      liens and security interests known to Debtor, and known to be subject to avoidance, and all rights are
      reserved as to any matters not currently known to Debtor.
          A.                            Separate
                               506(a) and (d)]. Debtor will file motion(s) to value real or personal property of the bankruptcy
                estate                                                  506(a) and (d), as specified in Attachment A.
          B.                         Separate
                                               522(f)]. Debtor will file a Motion to avoid a judicial lien or nonpossessory,
                nonpurchase-money security interest, on real or personal property of the bankruptcy estate listed below
                                        522(f). If the court enters an order avoiding a lien under 11 U.S.C. 522(f), the
                Chapter 13 Trustee will not pay any claim filed based on that lien as a secured claim.
          Name of Creditor Lienholder/Servicer:
                                                                nd
          Description of lien and collateral (e.g., 2                lien on 123 Main St.):


          Name of Creditor Lienholder/Servicer:
                                                                nd
          Description of lien and collateral (e.g., 2                lien on 123 Main St.):


                See attachment for any additional liens and security interests to be avoided by separate 11 U.S.C.                            522(f)
                motion.


         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                          Page 12                                F 3015-1.01.CHAPTER13.PLAN
       Case 2:19-bk-13214-SK                       Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                             Desc
                                                   Main Document    Page 13 of 15



      C.                                                                                  . Debtor proposes to modify the
            following secured claims and liens in this Plan without a separate motion or adversary proceeding - this Plan
            will serve as the motion to value the collateral and/or avoid the liens as proposed below. To use this option,
            Debtor must serve this Plan, LBR Form F 3015-1.02.NOTICE.341.LIEN.MOD.PLAN.CONFRM and all
            related exhibits as instructed in that form.

                                                                                                                           AND LIEN


              TO CREDITOR LIENHOLDER/SERVICER ____________________________________________________
              _______________________________________________________________________________________

                          Real property collateral (street address and/or legal description or document recording number,
                          including county of recording):
                          ________________________________________________________________________________
                          (attach page with legal description of property or document recording number as appropriate).

                          Other collateral (add description such as judgment date, date and place of lien recording, book and
                          page number):
                          ________________________________________________________________________________

                                     522(f)    Debtor seeks avoidance of your lien(s) on the above described collateral
                        effective immediately upon issuance of the order confirming this Plan.

                                     506(a) and (d) Debtor seeks avoidance of your lien(s) on the above described collateral
                        that will be effective upon the earliest to occur of either payment of the underlying debt determined
                        under nonbankruptcy law or one of the following:
                   (check all that apply and see LBR Form F 4003-2.4.ORDER.AFTERDISCH):
                        (1)                                          1328, or

                        (2)                                                                                                   -0-
                              of all Plan payments.

              Value of collateral: ........................................................................................................... $_______________
              Liens reducing equity (to which subject lien can attach):
                                  $_______________ + $_______________ + $_______________ = ($_______________)
              Exemption (only applicable for lien avoidance under 11 U.S.C. 522(f)):                                                          ($_______________)
              Wherefore, Debtor requests that this court issue an order granting the foregoing property valuation
              and/or lien avoidance of the above-listed creditor on the above-described collateral in the form
              Attachment B, C and/or D to this Plan, as applicable. (Debtor must use and attach a separate
              Attachment B, C and/or D which are also mandatory court forms for modification of each secured
              claim and lien.)
              Amount of remaining secured claim (negative results should be listed as $-0-): ............. $_______________
              Note: See other parts of this Plan for the proposed treatment of any remaining secured claim (generally
              Class 3).


        See attachment(s) for additional request(s) to modify secured claims and liens by this Plan.




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                             Page 13                                   F 3015-1.01.CHAPTER13.PLAN
       Case 2:19-bk-13214-SK                   Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                               Main Document    Page 14 of 15



      D. Other Non-Standard Plan Provisions (use attachment, if necessary):




V. REVESTING OF PROPERTY
        Property of the bankruptcy estate will not revest in Debtor until a discharge is granted or the case is dismissed or
        closed without discharge. Revesting will be subject to all liens and encumbrances in existence when the case
        was filed, except those liens avoided by court order or extinguished by operation of law. In the event the case is
        converted to a case under Chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate will vest in
        accordance with applicable law. After confirmation of this Plan, the Chapter 13 Trustee will not have any further
        authority or fiduciary duty regarding use, sale, or refinance of property of the estate except to respond to any
        motion for proposed use, sale, or refinance as required by the LBRs. Prior to any discharge or dismissal, Debtor
        must seek approval of the court to purchase, sell, or refinance real property.


By filing this document, the Attorney for Debtor, or Debtor if not represented by an attorney, also certify(ies) that
the wording and order of the provisions in this Plan are identical to those contained in the Central District of
California Chapter 13 Plan other than any nonstandard Plan provisions included in Section IV.




Date: 04/08/2019
      _______________
                                                           Attorney for Debtor(s)




                                                           Debtor 1




                                                           Debtor 2




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                         Page 14                                 F 3015-1.01.CHAPTER13.PLAN
       Case 2:19-bk-13214-SK                   Doc 37 Filed 04/09/19 Entered 04/09/19 01:32:13                                         Desc
                                               Main Document    Page 15 of 15




            ATTACHMENT A TO CHAPTER 13 PLAN/CONFIRMATION ORDER
                                    506: VALUATION/LIEN AVOIDANCE BY SEPARATE MOTION(S))


    None.


1. Creditor Lienholder/Servicer: ___________________________________________________________.
                             nd
        Subject Lien (e.g., 2 Lien on 123 Main St.): ___________________________________________
        ________________________________________________________________________________.

2. Creditor Lienholder/Servicer: ___________________________________________________________.
        Subject Lien (e.g., 3rd Lien on 123 Main St.): ___________________________________________
        ________________________________________________________________________________.

3. Creditor Lienholder/Servicer: ___________________________________________________________.
                             th
        Subject Lien (e.g., 4 Lien on 123 Main St.): ___________________________________________
        ________________________________________________________________________________.

4. Creditor Lienholder/Servicer: ___________________________________________________________.
                             nd
        Subject Lien (e.g., 2 Lien on 456 Broadway): __________________________________________
        ________________________________________________________________________________.

5. Creditor Lienholder/Servicer: ___________________________________________________________.
                             rd
        Subject Lien (e.g., 3 Lien on 456 Broadway): __________________________________________
        ________________________________________________________________________________.

6. Creditor Lienholder/Servicer: ___________________________________________________________.
                             th
        Subject Lien (e.g., 4 Lien on 456 Broadway): __________________________________________
        ________________________________________________________________________________.

7. Creditor Lienholder/Servicer: ___________________________________________________________.
                             nd
        Subject Lien (e.g., 2 Lien on 789 Crest Ave.): __________________________________________
        ________________________________________________________________________________.

8. Creditor Lienholder/Servicer: ___________________________________________________________.
                             rd
        Subject Lien (e.g., 3 Lien on 789 Crest Ave.): __________________________________________
        ________________________________________________________________________________.

9. Creditor Lienholder/Servicer: ___________________________________________________________.
                             th
        Subject Lien (e.g., 4 Lien on 789 Crest Ave.): __________________________________________
        ________________________________________________________________________________.

(Attach additional pages for more liens/provisions.)


CERTIFICATION: I have prepared this attachment (including any additional pages) for use by the Chapter 13 Trustee. I
certify under penalty of perjury under the laws of the United States of America that the information provided in this
attachment is accurate to the best of my knowledge after reasonable inquiry, and I acknowledge that the Chapter 13
Trustee has no duty to verify the accuracy of that information.

Executed on (date) ________________

____________________________
Print name: _________________
   Attorney for Debtor or Debtor appearing without attorney


         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                         Page 15                                 F 3015-1.01.CHAPTER13.PLAN
